Case 1:23-cr-02058-SAB ECF No. 1

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, 1:23-CR-2058-SAB

Plaintiff, INDICTMENT

V. 18 U.S.C. § 2251(a), (e)

Production and Attempted Production
of Child Pornography

(Counts 1, 3, 5, 7, 9, 12, 14)

CRAIG MICHAEL BERRY,

Defendant.

18 U.S.C. § 2422(b)

Online Enticement and Attempted
Online Enticement of a Minor
(Counts 2, 4, 6, 8, 10, 11, 13, 15)

18 U.S.C. § 2253, 18 U.S.C. § 2428
Forfeiture Allegations

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The Grand Jury charges:

COUNT 1

Beginning on or about October 1, 2021, and continuing to on or about

October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG

MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and

INDICTMENT -— 1

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coerce Minor Victim 1, a minor girl born in 2005, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did
attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).
COUNT 2
Beginning on or about October 1, 2021, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to persuade, induce, entice and coerce Minor Victim 1, an individual who
had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251 (a), (e),
Production and Attempted Production of Child Pornography, and did attempt the
same, all in violation of 18 U.S.C. § 2422(b).
COUNT 3
Beginning on or about October 1, 2021, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG

MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and

INDICTMENT -— 2
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coerce Minor Victim 2, a minor girl born in 2008, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did
attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).
COUNT 4
Beginning on or about October 1, 2021, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to persuade, induce, entice and coerce Minor Victim 2, an individual who
had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251(a), (e),
Production and Attempted Production of Child Pornography, and did attempt the
same, all in violation of 18 U.S.C. § 2422(b).
COUNT 5
Beginning on or about September 24, 2022, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG

MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and

INDICTMENT -— 3

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coerce Minor Victim 3, a minor girl born in 2006, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did
attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).
COUNT 6

Beginning on or about September 24, 2022, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of

interstate and foreign commerce, to wit: the internet, a computer, and a cellular

phone, to persuade, induce, entice and coerce Minor Victim 3, an individual who

had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251(a), (e),
Production and Attempted Production of Child Pornography, and did attempt the
same, all in violation of 18 U.S.C. § 2422(b).
COUNT 7
Beginning on or about a date unknown, but at least by on or about April 3,
2021, and continuing to on or about October 20, 2022, in the Eastern District of

Washington, the Defendant, CRAIG MICHAEL BERRY, did knowingly employ,

INDICTMENT — 4
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use, persuade, induce, entice, and coerce Minor Victim 4, a minor girl born in
2007, to engage in sexually explicit conduct for the purpose of producing any
visual depictions of such conduct, knowing and having reason to know that such
visual depictions would be produced using materials that had been mailed, shipped,
and transported in and affecting interstate and foreign commerce by any means,
including by computer, and did attempt to do the same, in violation of 18 U.S.C. §
2251(a), (e).

COUNT 8

Beginning on or about a date unknown, but at least by on or about April 3,

2021, and continuing to on or about October 20, 2022, in the Eastern District of

Washington, the Defendant, CRAIG MICHAEL BERRY, did unlawfully and
knowingly use any facility and means of interstate and foreign commerce, to wit:
the internet, a computer, and a cellular phone, to persuade, induce, entice and
coerce Minor Victim 4, an individual who had not attained the age of 18 years, to
engage in any sexual activity for which a person can be charged with a criminal
offense, including 18 U.S.C. § 2251(a), (e), Production and Attempted Production
of Child Pomography, and did attempt the same, all in violation of 18 U.S.C. §

2422(b).

INDICTMENT — 5
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COUNT 9
Beginning on or about April 1, 2022, and continuing to on or about October
20, 2.022,, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and
coerce Minor Victim 5, a minor girl born in 2006, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did
attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).
COUNT 10
Beginning on or about April 1, 2022, and continuing to on or about October
20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and inowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to persuade, induce, entice and coerce Minor Victim 5, an individual who
had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251(a), (e),
Production and Attempted Production of Child Pornography, and did attempt the

same, all in violation of 18 U.S.C. § 2422(b),.

INDICTMENT — 6
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COUNT 11
Beginning on or about October 2, 2022 and continuing to on or about
October 3, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to attempt to persuade, induce, entice and coerce Minor Victim 6, an
individual who had not attained the age of 18 years, to engage in any sexual
activity for which a person can be charged with a oriminal offense, including 18 -
U.S.C, § 2251 (a), (e), Production and Attempted Production of Child Pornography,
and did attempt the same, all in violation of 18 U.S.C. § 2422(b).
COUNT 12
Beginning on or about November 1, 2021, and continuing to on or about
October 20,2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and
coerce Minor Victim 7, a minor girl born in 2007, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did

attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).

INDICTMENT — 7

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COUNT 13
Beginning on or about November 1, 2021, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to persuade, induce, entice and coerce Minor Victim 7, an individual who
had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251(a), (e),
Production and Attempted Production of Child Pornography, and did attempt the
same, all in violation of 18 U.S.C. § 2422(b).
COUNT 14
Beginning on or about October 3, 2022, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did knowingly employ, use, persuade, induce, entice, and
coerce Minor Victim 8, a minor girl born in 2006, to engage in sexually explicit
conduct for the purpose of producing any visual depictions of such conduct,
knowing and having reason to know that such visual depictions would be produced
using materials that had been mailed, shipped, and transported in and affecting
interstate and foreign commerce by any means, including by computer, and did

attempt to do the same, in violation of 18 U.S.C. § 2251(a), (e).

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COUNT 15
Beginning on or about October 3, 2022, and continuing to on or about
October 20, 2022, in the Eastern District of Washington, the Defendant, CRAIG
MICHAEL BERRY, did unlawfully and knowingly use any facility and means of
interstate and foreign commerce, to wit: the internet, a computer, and a cellular
phone, to persuade, induce, entice and coerce Minor Victim 8, an individual who
had not attained the age of 18 years, to engage in any sexual activity for which a
person can be charged with a criminal offense, including 18 U.S.C. § 2251(a), (e),
Production and Attempted Production of Child Pornography, and did attempt the
same, all in violation of 18 U.S.C. § 2422(b).
NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

The allegations contained in this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures.

Pursuant to 18 U.S.C. § 2253, upon conviction of an offense(s) in violation
of 18 U.S.C. § 2251 (a), (e), and/or 18 U.S.C. § 2252A(a)(2) and/or 18 U.S.C. §
2252A(a)(2)(A), (b)(1), as set forth in Counts 1, 3, 5, 7, 9, 12, and 14 of this
Indictment, Defendant, CRAIG MICHAEL BERRY, shall forfeit to the United
States of America any visual depiction described in section 2251, 2251A, 2252,
2252A, 2252B, or 2260 of this chapter, or any book, magazine, periodical, film,

videotape, or other matter which contains any such visual depiction, which was

INDICTMENT - 9
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produced, transported, mailed, shipped or received in violation of this chapter; any
property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offenses; and, any property, real or personal, used or
intended to be used to commit or to promote the commission of such offenses, or
any property traceable to such property, including, but not limited to:

- aBlack Samsung Galaxy $21 Model # SM-G996U cellular phone

If any of the property described above, as a result of any act or omission of
the Defendant:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b).

Pursuant to 18 U.S.C. § 2428, upon conviction of an offense(s) in violation
of 18 U.S.C. § 2422(b), as set forth in Counts 2, 4, 6, 8, 10, 11, 13 and 15 of this
Indictment, the Defendant, Craig Michael Berry, shall forfeit to the United States
of America, any property, real or personal, that was used or intended to be used to

commit or to facilitate the commission of the offense(s) and any property, real or

INDICTMENT — 10

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personal, constituting or derived from any proceeds obtained, directly or
indirectly, as a result of the offense(s), including but not limited to:

- a Black Samsung Galaxy $21 Model # SM-G996U cellular phone

If any of the property described above, as a result of any act or omission of
the Defendant:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

DATED this _\\ day of October, 2023.

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Virnve pry’)
Vanessa R. Waldref
United States Attorney

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Christopher J. Bridger
Assistant United States Attorney

INDICTMENT — 11
